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13 Attorneys for Plaintiff and the Class
14
15                  IN THE UNITED STATES DISTRICT COURT

16                    SOUTHERN DISTRICT OF CALIFORNIA

17
18 Antonia Burrell, on behalf of herself,    Case No. 3:19-cv-00929-JLS-BLM
   the General Public, and all others
19 similarly situated,                            CLASS ACTION

20                                           NOTICE OF DISMISSAL
                     Plaintiff,
21
     v.
22
23 IKEA US RETAIL LLC, a Virginia
   Corporation, and IKEA NORTH
24 AMERICA SERVICES, LLC, a
   Virginia Corporation,
25

26                   Defendants.

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 1        PLEASE TAKE NOTICE that the above-entitled action is hereby dismissed
 2 without prejudice, in its entirety and as to all parties, complaints and causes of
 3 action pursuant to the Federal Rules of Civil Procedure, Rule 41(a)(1)(A).
 4        Respectfully Submitted,
 5 Dated: September 14, 2020               AMARTIN LAW, PC
 6                                         s/ Alisa Martin___________________
 7
                                           Alisa Martin

 8
     Dated: September 14, 2020             BRENNAN & DAVID LAW GROUP
 9
                                           s/ Lindsay David___________________
10                                         Lindsay David
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                                      NOTICE OF DISMISSAL
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 1                                 Certificate of Service
 2        The undersigned hereby certifies that all counsel of record who are deemed to
 3 have consented to electronic service are being served September 14, 2020, with a
 4 copy of this document via e-mail/electronic service. I certify that all parties in this
 5 case are represented by counsel who are CM/ECF participants. Any other counsel
 6 of record will be served by electronic mail, facsimile transmission, and/or first class
 7 mail on this same date.
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 9                                                      s/ Lindsay David
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                                     NOTICE OF DISMISSAL
